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 1                                                                    The Honorable Robert S. Lasnik
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                           UNITED STATES DISTRICT COURT FOR THE
 7                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
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                                                                 NO. CR13-0051-RSL
      UNITED STATES OF AMERICA,
11
                              Plaintiff                          GOVERNMENT’S EMERGENCY
12
                                                                 MOTION FOR EXTENSION OF TIME
13                       v.
                                                                 TO FILE A RESPONSE TO
                                                                 DEFENDANT’S MOTION FOR
14
                                                                 COMPASSIONATE RELEASE
      JOSE SALAS-ARROYO,
15                                                               PURSUANT TO
                              Defendant.                         18 U.S.C. § 3582(c)(1)(A)
16
17                                                               Noted:
18
19          The United States of America, by and through Brian T. Moran, United States
20 Attorney for the Western District of Washington, and Helen Brunner, Assistant
21 United States Attorney for said district, files this motion seeking an extension of time of
22 fourteen days, to file its response to Defendant Jose Salas-Arroyo’s pro se motion for a
23 reduction in sentence pursuant to 18 U.S.C. § 3582(c)(1)(A). The defendant is currently
24 serving the 120-month custodial sentence that this Court imposed following his convictions
25 for conspiring to traffic drugs and conspiracy to launder. According to the Bureau of
26 Prisons (BOP), his projected release date is August 8, 2021.
27          On Monday, January 11, 2021, by ECF email, the government received notice the
28 defendant’s pro se motion for appointment of counsel and for a reduction in sentence
     Government’s Motion for Extension of Time to Respond to Motion        UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     for Compassionate Release
                                                                            SEATTLE, WASHINGTON 98101
     United States v. Salas-Arroyo, No. CR13-0051-RSL - 1                         (206) 553-5172
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 1 pursuant to 18 U.S.C. § 3582(c)(1)(A). In that motion, the defendant claims that his
 2 medical conditions render him particularly vulnerable to serious illness should he contract
 3 coronavirus disease 2019 (COVID-19). Based on the claims, as set forth in the attached
 4 declaration, the relevant medical records and other documents were promptly requested
 5 from the Bureau of Prisons but have not yet been received because the defendant is housed
 6 at Giles W. Dalby Correction Institution, a BOP contract facility that does not use the BOP
 7 electronic records system.
 8          In addition, the undersigned counsel for the government alerted the Federal Public
 9 Defender to the filing and provided him with a copy of the pro se motion so he could
10 determine if counsel should be appointed pursuant to this Court’s General Order 03-19.
11 That General Order provides for appointment of the Federal Public Defender’s Office or
12 CJA counsel for defendants filing a request for compassionate release pursuant to
13 18 U.S.C. § 3582(c)(1)(A).
14          Because the undersigned counsel is still awaiting the receipt of these records and
15 the Federal Public Defender’s Office is still seeking CJA counsel for the defendant, this
16 motion seeks a two-week extension of time for filing its response to the pro se motion. In
17 general, if counsel is appointed for a case where a defendant has filed a pro se motion, in
18 order to streamline the process, the lawyers reach agreement on a briefing schedule that
19 provides counsel for the defendant time to file a supplemental or amended motion, and a
20 date thereafter for the government’s response. Moreover, because the medical records have
21 not been received, even if counsel is not appointed, the undersigned counsel for
22 government will need some additional time to review these medical records to assess the
23 validity of Salas-Arroyo’s claims, and to compose and file a meaningful informed response
24 even if counsel is not appointed.
25          Accordingly, the United States respectfully requests an extension of fourteen days,
26 of both the motion’s noting date and the deadline to file a response to defendant’s motion
27 for compassionate release, or alternatively if counsel is appointed, a stipulated motion for
28 new briefing schedule.
     Government’s Motion for Extension of Time to Respond to Motion    UNITED STATES ATTORNEY
                                                                      700 STEWART STREET, SUITE 5220
     for Compassionate Release
                                                                        SEATTLE, WASHINGTON 98101
     United States v. Salas-Arroyo, No. CR13-0051-RSL - 2                     (206) 553-5172
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1           Dated this 14th day of January, 2021.
2                                                            Respectfully submitted,
3
                                                             BRIAN T. MORAN
4                                                            UNITED STATES ATTORNEY
5
                                                             s/ Helen J. Brunner
6                                                            HELEN J. BRUNNER
                                                             Assistant United States Attorney
7
                                                             Western District of Washington
8                                                            700 Stewart Street, Suite 5220
                                                             Seattle, Washington 98101
9
                                                             Tel: (206) 553-7970
10                                                           Email: Micki.Brunner@usdoj.gov
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     Government’s Motion for Extension of Time to Respond to Motion        UNITED STATES ATTORNEY
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1                                    CERTIFICATE OF SERVICE
2
3           I hereby certify that on August 6, 2020, I electronically filed the foregoing with the
4 Clerk of the Court using the CM/ECF system, and to be served on the Defendant, Jose
5 Salas-Arroyo, who is proceeding pro se, by First Class Mail to the following address:
6           Jose Salas-Arroyo, Reg. No. 46515-198
            Giles W. Dalby
7
            Correction Institution
8           805 North Avenue F.
            Post, Texas 79356
9
10
11                                                            /s/ John M. Price
                                                             JOHN M. PRICE
12                                                           Paralegal Specialist
13                                                           United States Attorney’s Office
                                                             700 Stewart Street, Suite 5220
14                                                           Seattle, Washington 98101
15                                                           Phone: (206) 553-7970
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     Government’s Motion for Extension of Time to Respond to Motion        UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     for Compassionate Release
                                                                            SEATTLE, WASHINGTON 98101
     United States v. Salas-Arroyo, No. CR13-0051-RSL - 4                         (206) 553-5172
